                        IN THE UNITED STATES DISTRICT COURT FOR THE
                               EASTERN DISTRICT OF TENNESSEE


   ANDREW JOSTEN LOVINGOOD,                              )
                                                         )
           Plaintiff,                                    )
                                                         )       Docket No.: 3:19-CV-00009
                                                         )
   v.                                                    )
                                                         )
   BILL JOHNSON,                                         )
   DERRICK GRAVES, and                                   )
   MONROE COUNTY, TENNESSEE                              )
                                                         )
           Defendants.                                   )


                                         NOTICE OF APPEAL

           COMES NOW Plaintiff, Andrew Lovingood, by and through undersigned counsel and

   gives Notice of this Appeal to the United States Court of Appeals for the Sixth Circuit. Mr.

   Lovingood appeals the Order Dismissing with Prejudice of the United States District Court of the

   Eastern District of Tennessee at Knoxville dated December 10, 2021 bearing [Doc. 101].

           The United States Court of Appeals for the Sixth Circuit has appellate jurisdiction over this

   case pursuant to 28 U.S.C. § 1291 as the Court of Appeals for the Sixth Circuit hears cases from

   the United States District Court for the Eastern District of Tennessee

   Please govern yourself accordingly.


        RESPECTFULLY SUBMITTED, this the 9th day of January, 2022.




                                  Signature of Counsel on Page 2 of 3

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                                           THE BOWLIN LAW FIRM P.C.



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                                   CERTIFICATE OF SERVICE

          I hereby certify that a copy of the foregoing was transmitted for service via Pacer and this
   Court’s Electronic Court Filing System all other parties will served via U.S. Mail.



          This the 9th day of January, 2022.

                                                        THE BOWLIN LAW FIRM P.C.



                                                By:      s/ Troy L. Bowlin II
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